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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    QUYNH VU BAIN,

                Plaintiff,

         v.
                                                          Civil Action No. 21-1751 (RDM)
    OFFICE OF THE ATTORNEY GENERAL, et
    al.,

                Defendants.


                 DEFENDANT’S STATUS REPORT REGARDING FOIA

        By and through its undersigned counsel, Defendants (the “Agencies”) respectfully submit

this status regarding FOIA production pursuant to this Court’s Minute Order dated June 29, 2022.

To update the court on the progress in processing Plaintiff’s FOIA request, Defendants provide

the following update:

        On July 22, 2022, OPR plans to send its third interim response to Plaintiff, in which 163

pages will be released in full or part. In addition, OPR will send 100 pages to the Executive Office

for Immigration Review for consultation, and withhold in full 204 pages pursuant to FOIA

exemptions 5, 6, and 7(C). OPR has approximately 14,500 pages yet to process. 1 The large

number of pages of responsive material is a result of Plaintiff’s broad FOIA request, which sought

OPR’s entire investigative file, and the fact that OPR has not yet identified and removed any

duplicate pages from the potentially responsive material. Moreover, OPR’s ability to process such



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       The initial estimate was 6,000 documents, but after a more thorough analysis of the
universe of potentially responsive documents due to Plaintiff’s extremely broad request, and a
cache of emails with attachments, the number has significantly increased. The documents still
must undergo de-duplication, which will potentially reduce the number of responsive documents.
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a large number of pages is constrained by its small FOIA processing staff, which consists of one

Government Information Specialist, one FOIA/Privacy Act attorney, and one supervisory

attorney. In light of these factors, OPR proposes to process 500 pages a month in response to

Plaintiff’s request, beginning in September 2022. At that rate, it will be more than two years before

OPR completes its processing of Plaintiff’s request. Plaintiff may wish to consider narrowing her

request in a way that would decrease the amount of potentially responsive pages and expedite

OPR’s processing of her request.

       EOIR has completed its response to Plaintiff’s two FOIA requests. EOIR sent responsive

documents to Plaintiff’s request No. 2016-917 in four responses on March 7, 2016, May 2, 2017,

July 10, 2017, and August 8, 2017 via computer discs. With regard to Plaintiff’s request No. 2018-

10636, EOIR responded on April 27, 2018.

Dated: July 22, 2022
       Washington, DC
                                                Respectfully submitted,

                                                MATTHEW M. GRAVES, D.C. Bar #481052
                                                United States Attorney

                                                BRIAN P. HUDAK
                                                Chief, Civil Division

                                                By:           /s/ Thomas W. Duffey
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